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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

LUIS GONZALEZ,

       Plaintiff,

v.                                                                Case No: 8:17-cv-2612-T-36AEP

KIA MOTORS FINANCE,

      Defendant.
___________________________________/

                                             ORDER

       The Court has been advised by the Notice of Pending Settlement (Doc. 17) that the above-

styled action has been settled. Accordingly, pursuant to Local Rule 3.08(b), M.D.Fla., it is

       ORDERED AND ADJUDGED that this cause is hereby DISMISSED without prejudice

and subject to the right of the parties, within sixty (60) days of the date of this order, to submit a

stipulated form of final order or judgment should they so choose or for any party to move to reopen

the action, upon good cause shown. After that 60-day period, however, dismissal shall be with

prejudice.

       DONE AND ORDERED in Tampa, Florida on July 16, 2018.




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Counsel of Record
